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                                 #:3011




                   EXHIBIT 4
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                                 #:3012
           Case 2:20-cv-08035-SVW-JPR Document 147-5 Filed 05/07/21 Page 3 of 16 Page ID
                                            #:3013

   From:              Jerry Wang [Jerry.Wang@ff.com]
   Sent:               1/26/2018 4:56:04   PM
  To:                 Sekhon,   Vijay S. [vsekhon@sidley.com]
   Subject:            RE:   [EXTERNAL
  Attachments:        01262018FFHLAgreement Final Revise Final (Clean).pcf;
                      Ree ©1262018FFHLAgreement Final                                 Revise Final   (Clean).docx




  Faraday Future
  Jerry Wang
    ierry. wang@ff.com




  From: Jerry Wang (FF China)
  Sent: Friday, January 26, 2018 1:22 PM
  To: Sekhon, Vijay S. <vsekhon@sidley.com>
  Subject:      FW:
                      [EXTERN

  Faraday Future
  Jerry Wang
    jerry. wang@fi.com




  Sent: Friday, January 26,        2018 1:06 PM
  To: Jerry Wang (FF China)         <Jerry. Wang@ff.cam>
  Subject: [EXTERNAL]           Further revisions   on   Share Transfer   Agreement
  Hi   Jerry,



CONFIDENTIAL                                                                                             FFO0Q005207
        Case 2:20-cv-08035-SVW-JPR Document 147-5 Filed 05/07/21 Page 4 of 16 Page ID
                                                           #:3014
  Please find the attached SA as further revised per your request. It looks like that what may be best at this point, without
  destroying the whole purposes and what has already been agreed on, is to put in some simple and necessary definitions
  on   the restrictive time   period to reflect the current Series A financing documents as you have stated.
  Best   regards to you and DG.
  Henry




CONFIDENTIAL                                                                                                        FFO0Q005208
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                                 #:3015
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                                        #:3016




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                                 #:3017
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                                        #:3018




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                                 #:3019
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                                        #:3020
        Confidential &   Privileged

                                               Employment Agreement
                                                  Between FF and HL

                                                   (January 25, 2018)

        This  Employment Agreement (“Agreement”) sets forth the terms and condition of employment
        of Hong Liu (aka (Henry) Hong Liu, “HL”) at FF Global Holdings Ltd., and Smart King Limited
        which owns 100% of and controls such entities including, without limitation, FF Global Holdings
        Ltd., Faraday & Future Inc., LeSEE (in VIE Structure), City Sky Limited, d/b/a Faraday and their
        successors, assignees and transferees (“FF”). These Terms (“Terms”) supersede and replace any
        and all previous agreements and other agreements as may be specifically referred to herein,
        between the parties. If any provision of these Terms is ineffective in whole or in part, the
        remainderof the Terms shall remain effective. The Terms shall be constructed in accordance
        with and governed by the laws of the State of California without regard to otherwise governing
        principles of conflicts of law.

        Position & Duties:
        FF shall   appoint HL Senior Board   Member of FF Global   Board; Global Chief Administrative
        Officer, with the Chinese translation of          BL &,    or   other similar and   comparable title as
        may be further discussed and  agreed, and concurrently the Global General Counsel at HL’s
        choice, and the Global Senior Advisor of FF, directly reporting to FF’s CEO. FF shall give HL
        adequate authority and support in performing his duties. HL’s duties and responsibilities shall
        be commensurate with such positions, and subject to typical exceptions for serving on other
        civic/charitable/corporate boards with no direct conflict of interest with FF and for managing
        personal investments.

        Term:
        HL shall   commence as soon as  practical and expects to be no later than February 1, 2018 or
        other days as may be mutually agreed, based on agreed Terms. For formality purpose only, FF
        may or may not ask HL to sign the standard form of employment letter (“Offer Letter”)
        applicable to all executives and employees of FF in U.S.A. when joining the company,
        however, FF has expressed agreed and specifically acknowledged that the Letter and all its
        contents shall be superseded and overridden by this Agreement. FF shall guarantee HL’s

        employment and base salaries as provided in the Terms for five years except for HL decides to
        leave FF at his own. Thereafter such employment shall continue at the then same levels of
        responsibilities and compensation including the continued annual amount of signing bonus
        and other benefits as provided in this Agreement until terminated by either party, upon 90
        days advance notice, pursuant to the Terms.




CONFIDENTIAL                                                                                                      FFO0Q005209
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                                        #:3021
        Confidential &    Privileged
        Base Salaries:
        FF shall pay HL    a   minimum annual base  salary of $1,000,000.00, in semi-monthly (bi-weekly)
        installments, for five years. If HL is terminated by FF for any reason during the five year term
        he will be entitled to receive any remaining portion of the five years of base salaries not yet
        paid in a lump sum. Base salary will be reviewed on an annual basis for increases in
        accordance with the review process for senior level executives of FF.


        Signing Bonus:
        FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
        installment paid upon the signing of the Agreement and eachof the remaining installments paid
        at eachof the following four anniversary of HL’s start of employment at FF and paid in lump sum
        in the event of an early termination by FF during the five year guaranteed employment term.


        Bonus   Opportunity:
        FF shall award HL discretionary annual     bonus based   on   annual review. Annual bonus will be
        reviewed   on an annual basis for increases in accordance with the review process for senior
        level executives of FF. FF shall give HL access to special Bonus based on a percentage of
        overall transactions, including successful equity and debt financing, China Joint Venture, and
        other special projects and important tasks, etc., in which HL plays one of the leading roles of
        the   project group and    makes substantial contributions.


        Equity Grants:
        FF shall entitle HL to FF’slong-term and short-term incentives. FF shall grant HL at minimum
        cost required by law and outright, 2% of FF’s total equity shares pre Series A dilution in the
        form of restrictive stocks or equity option as HL may select based on any of FF’s available
        equity grant forms to select from, namely 20,000,000.00 equity shares representing 2% of the
        total and all of 1,000,000,000.00 equity shares of FF pre Series A, as FF has represented and
        warranted, with the FF established and standard equity share or option vesting schedule and
        any of FF’s earliest available vesting schedules as HL may select and with adequate
        consideration of tax benefits available to HL. Any and all of the remaining unvested portion of
        such 2%of the total shares shall become immediately and fully vested to HL upon any early
        termination by FF of HL’s employment within the guaranteed employment term with FF. Such
        an early termination can only be effectuated based on the specific cause of a serious breach of

        fiduciary duty to FF as a senior executive of FF after fully adjudicated against HL by a
        competent court in the United States, and HL will be fully covered by FF with executive
        indemnifications. FF has represented that it had successfully completed first closing of Series A
        financing in December 2017, which is subject to CFIUS approval and it is possible that the
        global corporate structure of FF may be adjusted in compliance with any decisions to be
        concluded by CFIUS, which FF represents and warrants that it will ensure that provisions
        concerning HL as contained in this Agreement shall not be adversely affected. FF has further
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CONFIDENTIAL                                                                                                FFO0Q005210
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                                        #:3022
        Confidential &   Privileged
        represented that there are no multiple classes of shares with different rights and values
        offered to employees except the Founder (Yueting Jia, “YT” himself). HL will act in concert with
        the Founder under the circumstances permitted by law.


        Benefits/PTO:
        FF shall entitle HL to   participate in all   benefit   plans and   programs   at the   same    level with all
        senior level executives of    including, without limitation, corporate housing, transportation,
                                      FF,
        retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
        honor and adopt all employee and executive friendly best practices in favor of HL as a valued
        senior executive of FF, with regard to severance payments, change of control, parachute
        payments, tax treatments and any other customary executive compensation provisions. HL is
        entitled to indemnification from FF on terms no less than any other executives and employees.


        Relocation:
        FF shall pay for all HL’s reasonable relocation costs and expenses             as a   senior   executive,
        including, without limitation, family house-hunting trips, moving and storage of household
        goods, settling in allowances, interim living etc.

        Survivor Benefits:
        HLis entitled to death benefits if he dies during the five year term and during his employment
        at FF, including two year of base salary for his surviving spouse and children. Upon his death

        vesting schedules for his unvested equity interests shall have a two-year acceleration and all
        vested equity interests will pass to his surviving spouse and his children with adequate
        consideration of tax benefits to his survivors.


        Signed by,                                                    Signed by,

        Signature:                                                    Signature:
        For & authorized     by & on behalf of FF                     Hong Liu
        Position:                                                     Printed Name:     Hong Liu
        Printed Name:


        Jointly signed and acknowledged by:

        Signature:
        Board Director, FF
        Jiawei   Wang




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                                        #:3024
        Confidential &   Privileged

                                               Employment Agreement
                                                  Between FF and HL

                                                   (January 25, 2018)

        This  Employment Agreement (“Agreement”) sets forth the terms and condition of employment
        of Hong Liu (aka (Henry) Hong Liu, “HL”) at FF Global Holdings Ltd., and Smart King Limited
        which owns 100% of and controls such entities including, without limitation, FF Global Holdings
        Ltd., Faraday & Future Inc., LeSEE (in VIE Structure), City Sky Limited, d/b/a Faraday and their
        successors, assignees and transferees (“FF”). These Terms (“Terms”) supersede and replace any
        and all previous agreements and other agreements as may be specifically referred to herein,
        between the parties. If any provision of these Terms is ineffective in whole or in part, the
        remainderof the Terms shall remain effective. The Terms shall be constructed in accordance
        with and governed by the laws of the State of California without regard to otherwise governing
        principles of conflicts of law.

        Position & Duties:
        FF shall   appoint HL Senior Board   Member of FF Global   Board; Global Chief Administrative
        Officer, with the Chinese translation of                   or   other similar and   comparable title as
        may be further discussed and  agreed, and concurrently the Global General Counsel at HL’s
        choice, and the Global Senior Advisor of FF, directly reporting to FF’s CEO. FF shall give HL
        adequate authority and support in performing his duties. HL’s duties and responsibilities shall
        be commensurate with such positions, and subject to typical exceptions for serving on other
        civic/charitable/corporate boards with no direct conflict of interest with FF and for managing
        personal investments.

        Term:
        HL shall   commence as soon as  practical and expects to be no later than February 1, 2018 or
        other days as may be mutually agreed, based on agreed Terms. For formality purpose only, FF
        may or may not ask HL to sign the standard form of employment letter (“Offer Letter”)
        applicable to all executives and employees of FF in U.S.A. when joining the company,
        however, FF has expressed agreed and specifically acknowledged that the Letter and all its
        contents shall be superseded and overridden by this Agreement. FF shall guarantee HL’s

        employment and base salaries as provided in the Terms for five years except for HL decides to
        leave FF at his own. Thereafter such employment shall continue at the then same levels of
        responsibilities and compensation including the continued annual amount of signing bonus
        and other benefits as provided in this Agreement until terminated by either party, upon 90
        days advance notice, pursuant to the Terms.




CONFIDENTIAL                                                                                                      FFO0Q005214
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                                        #:3025
        Confidential &    Privileged
        Base Salaries:
        FF shall pay HL    a   minimum annual base  salary of $1,000,000.00, in semi-monthly (bi-weekly)
        installments, for five years. If HL is terminated by FF for any reason during the five year term
        he will be entitled to receive any remaining portion of the five years of base salaries not yet
        paid in a lump sum. Base salary will be reviewed on an annual basis for increases in
        accordance with the review process for senior level executives of FF.


        Signing Bonus:
        FF shall pay HL a signing bonus of $3,000,000.00, payable in five equal installments, with the first
        installment paid upon the signing of the Agreement and eachof the remaining installments paid
        at eachof the following four anniversary of HL’s start of employment at FF and paid in lump sum
        in the event of an early termination by FF during the five year guaranteed employment term.


        Bonus   Opportunity:
        FF shall award HL discretionary annual     bonus based   on   annual review. Annual bonus will be
        reviewed   on an annual basis for increases in accordance with the review process for senior
        level executives of FF. FF shall give HL access to special Bonus based on a percentage of
        overall transactions, including successful equity and debt financing, China Joint Venture, and
        other special projects and important tasks, etc., in which HL plays one of the leading roles of
        the   project group and    makes substantial contributions.


        Equity Grants:
        FF shall entitle HL to FF’slong-term and short-term incentives. FF shall grant HL at minimum
        cost required by law and outright, 2% of FF’s total equity shares pre Series A dilution in the
        form of restrictive stocks or equity option as HL may select based on any of FF’s available
        equity grant forms to select from, namely 20,000,000.00 equity shares representing 2% of the
        total and all of 1,000,000,000.00 equity shares of FF pre Series A, as FF has represented and
        warranted, with the FF established and standard equity share or option vesting schedule and
        any of FF’s earliest available vesting schedules as HL may select and with adequate
        consideration of tax benefits available to HL. Any and all of the remaining unvested portion of
        such 2%of the total shares shall become immediately and fully vested to HL upon any early
        termination by FF of HL’s employment within the guaranteed employment term with FF. Such
        an early termination can only be effectuated based on the specific cause of a serious breach of

        fiduciary duty to FF as a senior executive of FF after fully adjudicated against HL by a
        competent court in the United States, and HL will be fully covered by FF with executive
        indemnifications. FF has represented that it had successfully completed first closing of Series A
        financing in December 2017, which is subject to CFIUS approval and it is possible that the
        global corporate structure of FF may be adjusted in compliance with any decisions to be
        concluded by CFIUS, which FF represents and warrants that it will ensure that provisions
        concerning HL as contained in this Agreement shall not be adversely affected. FF has further
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CONFIDENTIAL                                                                                                FFO0Q005215
      Case 2:20-cv-08035-SVW-JPR Document 147-5 Filed 05/07/21 Page 16 of 16 Page ID
                                        #:3026
        Confidential &   Privileged
        represented that there are no multiple classes of shares with different rights and values
        offered to employees except the Founder (Yueting Jia, “YT” himself). HL will act in concert with
        the Founder under the circumstances permitted by law.


        Benefits/PTO:
        FF shall entitle HL to   participate in all   benefit   plans and   programs   at the   same    level with all
        senior level executives of    including, without limitation, corporate housing, transportation,
                                      FF,
        retirement, welfare, vacation and PTO, insurances including health, life, and D&O. FF shall
        honor and adopt all employee and executive friendly best practices in favor of HL as a valued
        senior executive of FF, with regard to severance payments, change of control, parachute
        payments, tax treatments and any other customary executive compensation provisions. HL is
        entitled to indemnification from FF on terms no less than any other executives and employees.


        Relocation:
        FF shall pay for all HL’s reasonable relocation costs and expenses             as a   senior   executive,
        including, without limitation, family house-hunting trips, moving and storage of household
        goods, settling in allowances, interim living etc.

        Survivor Benefits:
           is entitled to death benefits if he diesduring the five year term and during his employment
        at FF, including two year of base salary for his surviving spouse and children. Upon his death

        vesting schedules for his unvested equity interests shall have a two-year acceleration and all
        vested equity interests will pass to his surviving spouse and his children with adequate
        consideration of tax benefits to his survivors.


        Signed by,                                                    Signed by,

        Signature:                                                    Signature:
        For & authorized     by & on behalf of FF                     Hong Liu
        Position:                                                     Printed Name:     Hong Liu
        Printed Name:


        Jointly signed and acknowledged by:

        Signature:
        Board Director, FF
        Jiawei   Wang




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